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     ____________________________________________________________________________

                                                                        SO ORDERED,
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                                                      Judge Jason D. Woodard
                                                      United States Bankruptcy Judge
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                                                      The case docket reflects the date entered.
            The Order of the Court is set forth below.
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                                  Exhibit B
